Case 1:03-cV-01235-.]DB-tmp Document 33 Filed 06/09/05 Page 1 of 2 Page|D 62

UNITED STATES DISTRICT COURT " '“" "‘
WESTERN DISTRICT 0F TENNESSEE 05 JUM - .
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PATRICK FLAYTER, ) "/»D~ Of-‘ m. las-lawn
)
Plaimirf, )
)
vs. ) Civil Action No.: ]:03-1235- B/P
)
coRRECTIONS CORPORATION )
0F AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Ccurt that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the

scheduled Status Ccnference on June 24, 2005.

Dared;this q day of \BUNL ,2005.

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_J._DAMEJTBREEN -]7_4 m_ P}\qm
UNITED sTATEs-BIS=PH€-'P JUDGE

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This document entered on the docket shee;_l'n compliance

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With Flule 58 and/cr 79(3) FHCP on _(£ "/c.j"O`) g

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:03-CV-01235 Was distributed by faX, mail, or direct printing on
.lune 13, 2005 to the parties listed.

 

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Honorable .l. Breen
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